1/22/2016      Case: 1:14-cv-04661    Document
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  Wrana v. Village of Park Forest, et al. ­ Bates­stamped Docs PF 9423­9440
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     Counsel

     I have verified that we have turned over all documents in the possession of Park Forest related to the Indiana State Police
     investigation or the administrative leave of Officer Taylor.

     Thank you.

     Amy




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                                                                                                               9423­9440 #:1570



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